    Case 3:10-cr-03617-BEN    Document 517        Filed 02/17/15   PageID.4103                             Page 1 of
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      6                         UNITED STATES DISTRICT COURT
      7                      SOUTHERN DISTRICT OF CALIFORNIA
      8    NESTOR D. BENITEZ,                           CASE NO. 11cv2&79-BEN
                                                        CASE NO. 10cr3617-BEN
      9                                   Movant,
                 vs.                                    ORDER DENYING MOTION TO
     10                                                 VACAT~SET ASIDEt-,OR
                                                        CORRELISENTENC.r.;
     11                                                 PURSUANT TO 28 U.S.C. § 2255
           UNITED STATES OF AMERICA,
     12
                                      Res ondent.
     13
     14         NESTOR D. BENITEZ moves to vacate, set aside or correct his sentence
     15 pursuant to 28 U.S.C. § 2255. He filed the Amended Motion on July 14,2014. In
     16 his Amended Motion he asserts that he did not understand the sentencing
     17 consequences of his guilty plea. He claims he received ineffective assistance of
     18 counsel because his attorney mis-advised him that he would receive a sentence
     19 between zero and 120 months. He was sentenced to 140 months in prison.
     20 However, Movant's claims are barred because he validly waived his right to
     21   collaterally attack his sentence. Alternatively, even ifhis claims are not barred, they
     22 do not merit habeas relief. For the reasons stated below, the Motion is DENIED.
     23                                     BACKGROUND
     24         On August 25,2010, Movant and several others conspired and attempted to
     25 ,rob a drug stash house. Instead, the conspirators were arrested in a sting operation.
     26 He was eventually charged in a multi-count indictment, with conspiracy to possess
     27 five kilograms or more of cocaine, in violation of21 U.S.C. §§ 841 and 846,
     28 conspiracy to affect commerce by robbery and extortion, in violation of 18 U.S.C.


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Case 3:10-cr-03617-BEN   Document 517        Filed 02/17/15   PageID.4104   Page 2 of
                                        13
Case 3:10-cr-03617-BEN   Document 517        Filed 02/17/15   PageID.4105   Page 3 of
                                        13
Case 3:10-cr-03617-BEN   Document 517        Filed 02/17/15   PageID.4106   Page 4 of
                                        13
Case 3:10-cr-03617-BEN   Document 517        Filed 02/17/15   PageID.4107   Page 5 of
                                        13
Case 3:10-cr-03617-BEN   Document 517        Filed 02/17/15   PageID.4108   Page 6 of
                                        13
Case 3:10-cr-03617-BEN   Document 517        Filed 02/17/15   PageID.4109   Page 7 of
                                        13
Case 3:10-cr-03617-BEN   Document 517        Filed 02/17/15   PageID.4110   Page 8 of
                                        13
Case 3:10-cr-03617-BEN   Document 517        Filed 02/17/15   PageID.4111   Page 9 of
                                        13
Case 3:10-cr-03617-BEN   Document 517     Filed 02/17/15   PageID.4112   Page 10 of
                                        13
Case 3:10-cr-03617-BEN   Document 517     Filed 02/17/15   PageID.4113   Page 11 of
                                        13
Case 3:10-cr-03617-BEN   Document 517     Filed 02/17/15   PageID.4114   Page 12 of
                                        13
Case 3:10-cr-03617-BEN   Document 517     Filed 02/17/15   PageID.4115   Page 13 of
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